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                                          14                            UNITED STATES DISTRICT COURT
                                          15                          CENTRAL DISTRICT OF CALIFORNIA
                                          16                                      WESTERN DIVISION
                                          17 ALS SCAN, INC.,                                Case No.: CV 16-5051-GW(AFMx)
                                          18                     Plaintiff,                 ORDER ON CLOUDFLARE,
                                                                                            INC.’S MOTION FOR
                                          19         v.                                     RECONSIDERATION
                                          20 CLOUDFLARE, INC., et al.,                      Judge:     Hon. George H. Wu
                                                                                            Hearing:   June 18, 2018
                                          21                     Defendants.                Time:      8:30 a.m.
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                                               [PROPOSED] ORDER ON CLOUDFLARE, INC.’S                  CASE NO. 2:16-CV-05051-GW-AFM
                                               MOTION FOR RECONSIDERATION
                               Case 2:16-cv-05051-GW-AFM Document 538 Filed 06/08/18 Page 2 of 2 Page ID #:15327




                                           1         On May 1, 2018, Cloudflare, Inc. filed a motion for reconsideration
                                           2 (Dkt. 522) of the Court’s March 13, 2018 Order on Cloudflare and ALS Scan’s
                                           3 motions for summary judgment (Dkt. 405).
                                           4         The Court hereby grants Cloudflare’s motion for reconsideration. In view of
                                           5 the settlement between the parties, the Court deems ALS Scan’s summary judgment
                                           6 motion (Dkt. 324) and Cloudflare’s summary judgment motion (Dkt. 347) moot.
                                           7 Accordingly, the Court hereby withdraws its March 13, 2018 Order.
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                                          10 Dated: June 8, 2018
                                                                                        Honorable George H. Wu
                                          11                                            United States District Judge
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                                               [PROPOSED] ORDER ON CLOUDFLARE, INC.’S   1                 CASE NO. 2:16-CV-05051-GW-AFM
                                               MOTION FOR RECONSIDERATION
